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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

Bureau of Consumer Financial                   )
Protection,                                    )       Case No. 1:20-cv-04176
                                               )
        Plaintiff,                             )
                                               )
vs.                                            )
                                               )
Townstone Financial, Inc.                      )
                                               )
        Defendant.                             )

  DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMITS
     RELATED TO THEIR MOTION TO DISMISS PLAINTIFF’S COMPLAINT

        Defendant Townstone Financial, Inc. (“Townstone”), by counsel, pursuant to Local Rule

7.1, moves this Court for an Order granting Townstone’s Unopposed Motion For Leave To Exceed

Page Limits Related to Their Motion to Dismiss Plaintiff’s Complaint. In support of this motion,

Townstone states as follows:

        1.      Plaintiff Bureau of Consumer Financial Protection (the “Bureau”) filed a complaint

on July 15, 2020. The Complaint is 17 pages long and contains 58 paragraphs. It asserts federal

claims against Townstone and seeks declaratory relief and monetary damages against Townstone.

        2.      Pursuant to Fed. R. Civ. P. 12(b)(6), Townstone will move to dismiss all of the

Bureau’s claims for failure to state a claim upon which relief can be granted.

        3.      Local Rule 7.1 provides in relevant part that “[n]either a brief in support of or in

opposition to any motion . . . shall exceed 15 pages without prior approval of the court. . . Any

brief or objection that does not comply with this rule shall be filed subject to being stricken by the

court. Id.

        4.      This case presents complex federal questions including the interpretation of the


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applicable statutes and regulations as well as United States Constitutional issues.

       5.      While the undersigned will make every effort to condense and streamline the

arguments in support of the motion to dismiss, we respectfully submit that a memorandum in

excess of 15 pages is necessary to fully present all the relevant facts and legal arguments that set

out the bases for dismissal in this important case.

       6.      The undersigned has conferred with opposing counsel regarding this proposed page

extensions. Opposing counsel is not opposed to Townstone’s request.

       WHEREFORE, based on the foregoing, Townstone respectfully requests:

               A.      That this Court allow Townstone to file its Memorandum in support of

       Motion to Dismiss in excess of fifteen (15) pages; and

               B.      That this Court provisionally accept the Memorandum in support of

       Motion to Dismiss filed by Townstone, which is in excess of fifteen (15) pages.




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                                                    Respectfully submitted,

                                                    /s/ Sean P. Burke
                                                    Sean P. Burke #6277203
                                                    E. Brenda Kpotufe # 34084-49
                                                    Mattingly Burke Cohen & Biederman LLP
                                                    155 E. Market St., Suite 400
                                                    Indianapolis, IN 46204
                                                    Sean.Burke@mbcblaw.com
                                                    Brenda.Kpotufe@mbcblaw.com

                                                    Attorneys for Defendant Townstone
                                                    Financial, Inc.




                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2020 a copy of the foregoing was filed electronically.
Service of this filing was also made by operation of the Court’s CM/ECF system:

       Barry Reiferson
       Vincent Herman
       Michael G. Salemi
       Mary E. Olson
       Bureau of Consumer Financial Protection
       230 S. Dearborn St., Suite 1590
       Chicago, IL 60604

       And

       1700 G Street, NW
       Washington, DC 20552



                                                    /s/ Sean P. Burke______________
                                                    Sean P. Burke




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